      Case 4:23-cv-00163-AW-MJF Document 52 Filed 06/27/23 Page 1 of 1




          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S., INC.,
      Plaintiff,
v.                                                Case No. 4:23-cv-163-AW-MJF
RONALD D. DESANTIS, in his official
capacity as GOVERNOR OF FLORIDA,
et al.,
     Defendants.
_______________________________/
     ORDER GRANTING MOTION FOR EXPANDED WORD LIMIT

      The unopposed motion for an expanded word limit (ECF No. 51) is

GRANTED. The memorandum (ECF No. 51-1) is accepted as filed. The word limit

for Plaintiff’s response is also expanded to 11,000 words.

      SO ORDERED on June 27, 2023.

                                      s/ Allen Winsor
                                      United States District Judge
